Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 1 of 23 Page ID
                                 #:1581




                                                               HASBRO-000001
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 2 of 23 Page ID
                                 #:1582




                                                               HASBRO-000002
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 3 of 23 Page ID
                                 #:1583




                                                               HASBRO-000003
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 4 of 23 Page ID
                                 #:1584




                                                               HASBRO-000004
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 5 of 23 Page ID
                                 #:1585




                      Exhibit A
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 6 of 23 Page ID
                                 #:1586




                                                               HASBRO-000018
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 7 of 23 Page ID
                                 #:1587




                      Exhibit B
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 8 of 23 Page ID
                                 #:1588
                                                                                Page 1 of 1




 file:///P:/0527797.00044%20-%20BigMouth%20(Covves%20CA%20Suit)/Discovery/Dep... 10/1/2019
                                                                           HASBRO-000019
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 9 of 23 Page ID
                                 #:1589




                      Exhibit C
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 10 of 23 Page ID
                                  #:1590




                                                               HASBRO-000005
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 11 of 23 Page ID
                                  #:1591




                                                               HASBRO-000006
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 12 of 23 Page ID
                                  #:1592




                                                               HASBRO-000007
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 13 of 23 Page ID
                                  #:1593




                                                               HASBRO-000008
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 14 of 23 Page ID
                                  #:1594




                                                               HASBRO-000009
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 15 of 23 Page ID
                                  #:1595




                                                               HASBRO-000010
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 16 of 23 Page ID
                                  #:1596




                                                               HASBRO-000011
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 17 of 23 Page ID
                                  #:1597




                                                               HASBRO-000012
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 18 of 23 Page ID
                                  #:1598




                                                               HASBRO-000013
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 19 of 23 Page ID
                                  #:1599




                                                               HASBRO-000014
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 20 of 23 Page ID
                                  #:1600




                       Exhibit D
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 21 of 23 Page ID
                                  #:1601




                                                               HASBRO-000015
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 22 of 23 Page ID
                                  #:1602




                                                               HASBRO-000016
Case 2:18-cv-08518-RGK-AFM Document 111-2 Filed 11/01/19 Page 23 of 23 Page ID
                                  #:1603




                                                               HASBRO-000017
